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EXHIBIT
Case 1:22-cr-00015-APM Document575-4 Filed 05/15/23. +Page 2 of 22

Your Honor,

My name is Sharon Caldwell, and I am the wife of Thomas Caldwell (Tom). I’m writing this
statement to make a few comments regarding his health and medical conditions, and also to briefly
comment on his character.

] know that your Honor is well aware of my husband’s many medical issues, at least at a high level,
so I will not re-hash all of that. I’d like to briefly clarify a couple of points made in the PSR and
provide a little more information regarding his health.

Before and after Tom’s failed back surgery in 2010, he tried everything possible to obtain relief
from his back pain: acupuncture, CBD tinctures, massage, physical therapy (including pool
therapy), a technique called “cupping”, TENS machine treatment, pain management injections, and
opioid as well as non-opioid medications. NOTHING worked. After his lower back fusion surgery
of L4, L5, and S1 (a grueling 2- day surgery), Tom thought he was going to die from the pain. The
surgery that was supposed to help him only made things much worse. His pain management
physician tried every single pain medication on the market at that time, and nothing worked until
the physician tried Opana (oxymorphone). This particular medication was the ONLY one that
brought Tom a minimal amount of relief. It is a very strong opioid that even many board-certified
pain management physicians are reluctant to prescribe.

His pain management physician at the time kept increasing the dosage of this medication (Tom was
prescribed Opana at a much higher dose and frequency than most patients are), but this very high
dose did finally help Tom begin to get his pain under control a little bit. He took this high dosage
for several months, but this created another problem: he was constantly in a “mental fog” and could
not live a normal life due to this “fog.” To Tom’s credit, he told me that he “could not live this
way” and he went cold-turkey to try to get these awful drugs out of his system. This was a bad
decision mainly because you should NEVER go cold-turkey off of a medication like this. People
have died doing this, and Tom almost did.

In a panic, I called his new pain management physician and told her what was going on. She told
me how dangerous going cold-turkey was in Tom’s situation and, with her help, we developed a
strategy to gradually titrate Tom down from the super high dosage of this medication to something
less. Working with her over time, Tom was gradually able to successfully move to lower dosages of
Opana. He also learned to listen to his body more, and he found other positive ways to help manage
his pain. Over many years, we have found furniture that works for Tom. We have a special bed, a
special couch and special chairs. He cannot sit in “regular” chairs for any length of time. He has
also learned to manage his pain by alternating lying down, standing, sitting, walking and stretching.
He cannot stay in one position for any length of time without an increase in his pain — he needs to
change his physical position fairly frequently.

His new pain management physician also struggled to understand why typical pain medications did
not work for Tom. She suggested that he undergo genetic testing to see if that would tell us
something. It did. Tom underwent genetic testing, and it was discovered that he has a genetic
mutation, (CYP2D6), which affects how most opioids and some classes of anti-depressant
medications are metabolized in the body. So, the pain medication mystery was finally solved. Most

Pate ior
Case 1:22-cr-00015-APM Document 575-4 Filed 05/15/23 + Page 3 of 22

of these classes of medications are not correctly metabolized in his body at all, and they are flushed
out of his system without doing what they were designed to do (at least that’s how | understand it).

] am writing all of this to let you know of my major concern if Tom is incarcerated: Opana is the
ONLY pain medication which works for him at all due to this documented genetic mutation. If he is
unable to take this medication in prison (] am extremely doubtful prison physicians would prescribe
this for him and give it to him when he needs it — but I°ll admit, I could be wrong about that), he
will not have adequate pain control. Also, I fear that he will be unable to positively manage his pain
the way he is able to at home. He will not have the furniture that works for him, and he likely will
not be able to stand, sit, stretch, walk around, etc. as needed to control his pain.

I fully understand that a prison sentence is intended to punish someone for alleged crimes
committed. I cannot imagine the mental and emotional anguish that prisoners endure, but that is
part of the punishment, as I understand it. However, I do not believe that spending time in a prison
was ever intended to be a PHYSICAL torture chamber for ANY prisoner. Please don’t
misunderstand me when I say this. I certainly do not mean to imply that any prison would
intentionally torture anyone physically. | am only saying that, in Tom’s case, physical torture would
simply happen by default because of Tom’s pre-existing health conditions and the inability of the
prison system to provide what he needs to manage his pain. The jail staff at the Central Virginia
Regional Jail where Tom was previously incarcerated (for a relatively short 53 days) resorted to
wheeling Tom around in a wheelchair when he left his cell because he quickly deteriorated to the
point where he could hardly walk due to his excruciating pain. I am pleading with you to take these
issues into consideration when making your decisions with respect to Tom.

Finally, your Honor, I'd like to say that Tom and I have been happily married for over 23 years. The
Tom Caldwell whom I know very well is not even close to the picture of Tom the prosecution has
painted. Quite simply, if Tom was “that” person, I would not be with him. Tom is a very well-
adjusted individual, he has a huge heart, he is a gentle soul, and if it was possible to find any fault in
him, I’d have to say that sometimes Tom is almost too friendly and helpful, even to strangers. He is
very trusting of people, outgoing and amiable — and that has come back to bite him on occasion —
not just in this situation but in others as well. I would also like to say that, although Tom “vents”
sometimes about particular situations or issues to his close friends and to me — which resulted in
some of the offensive language of Tom’s shown in the courtroom — my observation is that Tom will
briefly “vent” about something, but he very quickly gets it out of his system and returns to the
happy, goofy person he is 99.9% of the time. I believe his venting to close friends is HEALTHY; it
is so much better than keeping negative feelings bottled up inside.

Thank you for listening. I hope you will consider all of this, and | humbly ask for your
understanding and leniency when making your sentencing decisions.

Respectfully,

Hraron Cold

Sharon Caldwell

Daye to *
Case 1:22-cr-00015-APM Document 575-4 Filed 05/15/23. +Page 4 of 22

| am Dianne MacMillan, Thomas Caldwell’s sister, and some things | can
speak to regarding his character follow for your consideration.

| am his only sibling and of course have known him ail his life. We are alike
in being animal lovers and enjoying the outdoors from horseback. |
currently live next door to him and his wife Sharon. | often need help on my
farm, being a widow now and getting older and my brother Tom is always
prepared to assist me in any way possible. | feel completely safe calling on
him whenever | need him and regardless of time and place he always
responds with understanding and a smile. He is generous with his time and
advice. | am not the only one who feels secure calling on Tom in time of
need. We have mutual friends and neighbors who agree that he is well-
liked and never consider him a danger or detriment to our area but a
reliable and steadfast member of our community.

| Know | am his sister and will be expected to support him. But | have
known him longer than anyone who can speak to his character over the
years. | know him as a fun-loving and friendly person not mean or violent in
any way. Please consider my statements as to Tom Caldwell’s character to
be honest and true.

fam LV Uy

e MacMillan
Case 1:22-cr-00015-APM Document575-4 Filed 05/15/23 + Page 5 of 22

May 9, 2023

From:

Mrs. Shery! Crim
eee,
Se

Hello,

My name is Sheryl Crim. 1 have been a registered nurse for 30 years, 27 of those years at our local

community hospital, and presently work as a unit hospice nurse. | also serve in my community church as
the pianist and treasurer.

lam writing to support Tom Caldwell, who | have known for more than 50 years. Tom and | attended
and graduated together from Clarke County High School in Berryville, Virginia. Tom and his wife,
Sharon, have been my neighbors for many years, living less than one mile away in Clarke County. | was
so happy when Tom returned from his life endeavors to live next to our family. We both returned to the
strong roots that molded our lives.

Tom has always been full of life and possesses a great sense of humor. Even in our high school days he
was well liked and participated in projects such as our school play. Tom’s childhood home was on the

same road as mine and we saw each other often. His family was a solid, close family, working hard to
provide the American dream.

Tom has been a wonderful neighbor and community participant. | have seen him visiting in the hospital,
and he became a friend to my mother and aunt who live nearby, visiting periodicatly to check on them
as they were in their 80’s. He has been a quiet and peaceful neighbor, friendly and kind. | want you to
know in NO WAY is Tom a danger or menace to our community. We love having him close by. He put
his life on the line for our freedom as he served in the military and | thank him very much for his service.

{highly respect his commitment as my own father was in World War tl. He loves our community and
country.

Please feel free to contact me at DY or quis
Thank you for listening.

Sincerely,

Mrs. Sheryl Crim

Berryville, Va. 22611
5/11/23, 1:53PM Case 1:22-cr-00015-APM Document Sfar4cetteRledn)5/15/23 Page 6 of 22

[4 Gmail Sharon Caldwell <redstart11@gmail.com>
Letter for Tom
Greg Hart <q Wed, May 10, 2023 at 10:34 AM

To: Sharon Caldwell <acqianamaaiaaagygmmaiiaiier—

My name is Gregory Hart. | am retired after 42 years at the National Geospatial Intelligence Agency. My wife Sharon
retired after 33 years with CIA. We currently own and operate a farm with cattle, horses, goats and poultry on Wadesville
Road, one half mile from the Caldwell residence. ! have known Tom and Sharon Caldwell for over 20 years, and rent their
farm where | harvest hay and used fo graze cattle. Tom cared for the calves born on his farm like they were his own. He
loves seeing the deer and protects nature by not allowing hunting.

Tom Caldwell is a disabled retired Naval officer and he often offers to help me with farming activities, but due to his pain
and spinal injuries, he is unable to do much work except for miner trimming of bushes along his driveway. He likes to
keep his property “ship shape" and hires others to do things he can't, like mowing his lawn and plowing snow.

Tom is a religious, caring man who often talks about when he and his sister rode horses on the farm when they were
children and going to the local high schoo!. Tom and his wife are devoted to each other, and cared for both their sets of
parents in their home, making them comfortable before they passed.

Tom is an asset to our community with his parents and family spending their entire lives here in rural Clarke County,
except when he was deployed with the Navy. Tom is a peaceful, quiet man, living on the land he was brought up on, in a
simple house that cannot be seen from the road. In the past they nad a small garden, and enjoy picking berries and
growing fruit trees in their yard. They don't bother the neighbors and are definitely not a threat to anyone.

Greg and Sharon Hart
Berryville, Virginia

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Res. Gma il Sharon Caldwell <redstart11@gmail.com>
Letter for Tom
Stu McNamara ~¢icheseD Fri, May 12, 2023 at 8:04 PM

To: Sharon Caldwell <g>

Tom Caldwell,my friend for years.

Tom and his family moved to our little corner of Clarke Co mid sixtys. Tom and his sister just blended in with all the
neighbors. Just a great family . I've lived here and farmed here my whole life. Tom is only neighbor that heard we was
going to be short on hay for our cattle, he called me and offered us his fields of hay. That's what you call a good friend
and better neighbor. This guy is there to help out,anything he can do. This man loves God,family and our country. The
only danger for Tom is himself, with his bad back and weak legs he might fall down trying to help someone in need.

Stuart McNamara Farmer,Berryville Va
[Quoted text hidden]

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Case 1:22-cr-00015-APM Document 575-4 Filed 05/15/23 + Page 8 of 22

9 May 2023

The Honorable Judge Mehta
US District Court
Washington, DC

Your Honor,

My name is CDR Roger W, Edwards. I am a retired Naval Officer and served 25
years on active duty. I met LCDR Thomas Caldwell in 1983 when we were both
stationed at the Navy Operational Intelligence Center in Suitland, Maryland. We
worked together on Navy issues for the remainder of our respective careers. We
have been close personal friends since we met.

In 2019 my wife and I moved to Winchester, VA, about 10 miles from Tom’s
home in Berryville, VA, and we were able to resume our personal friendship with
Tom and his wife Sharon.

I know Tom to be an honest and honorable man. He is a true patriot. He presented
an outstanding example of a Naval officer through his dedicated and well-reasoned
leadership. Professionally, Tom maintained excellent positive relationships with
his Navy superiors as well as his peers and those he supervised.

Despite his documented physical disabilities due to his Naval service, Tom is
always hospitable and friendly, exhibiting a positive attitude and demeaner. Tom is
a concerned and law-abiding citizen who has strong ties to his community and to
the multigenerational farm that he owns and maintains. Tom provides an excellent
example of living a true Christian faith and gives testimony in his genuine concern
for the welfare of others.

Thomas Caldwell is not now, nor has he ever been a danger to the community or to
the public. I plead for the court to do the right thing and find in his favor.

Very Respectfully,

Ripe WO Chie

CDR Roger W. Edwards, USN (ret)
Winchester, Virginia
Case 1:22-cr-00015-APM Document575-4 Filed 05/15/23 + Page 9 of 22

May 9, 2023

Honorable Judge:

My name is Dale L. Fritts, a retired banker, and I’m writing on behalf of Tom Caldwell. My wife,
Joyce, and | have known Tom for many years. Joyce attended high school with Tom at Clarke
County High School in the early 70s. | met Tom as an invited guess at Masonic Lodge Hiram #21.

At this time, Tom was an officer in the US Navy.

Our friendship continued once Tom retired from the Navy and moved back to Clarke County to
farm. His family’s farm is located about 2 miles from our current address.

Tom spent many years unselfishly caring for his parents and his in-laws until their passing. This is
just one of the many examples of Tom’s kindness. He is gracious, humble, peaceful, and
thoughtful. It has been a pleasure to have had Tom and Sharon as neighbors for over 20 years.
Tom is in no way a threat, but rather an outstanding contributing member, to my community.

Sincerely,

Dale L. Fritts
5/9/23, 11:30AM Case 1:22-cr-00015-APM  DOCUMEBinSiiZ Siok of ehttedg@addt5/23 Page 10 of 22

Rasy Gmail Sharon Caldwell <redstart11@gmail.com>

Note of encouragement

Charity Danjczek > Mon, May 8, 2023 at 8:45 PM
To:

To whom it may concern,

Our names are Michael and Charity Danjezek. Mike is a local business owner (a financial planner,) Charity is a

special needs preschool teacher, and together we're parents to 3 amazing children who we're thrilled to be raising in this
community.

Although we've only known Tom Caldwell for 3 years, he is the first neighbor we met when we moved to Clarke County
and instantly welcomed us as family. Despite the idiom that “good fences make good neighbors,” our children have been
encouraged by Tom to jump the fence between our properties to learn local history and pick mulberries. Tom is a kind,
honest, generous, fun-loving neighbor and we could not have hand-picked a better member of the community for our
children to look up to. We're in shock that anyone would even attempt to attack his character and imply that he is in any
way a danger to the community when we know from many experiences that the exact opposite is true. Tom and Sharon
are a huge blessing to our lives and our community and everyone who knows them.

Thank you for your time,

Michae! & Charity
Berryville VA

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Rasy Gmail Sharon Caldwell <redstart11@gmail.com>

Thomas Caldwell

Mary Wie -<winii aia Mon, May 8, 2023 at 3:55 PM
To: Sharon Caidwell <qagnggpiage>

My name is Mary Carol Ivie. I am a full time MOM of an autistic young woman. I live in
Berryville, about 5 miles from Tom and Sharon Caidwell. Living in the same community, I
have known them for years. About 2 years ago we started getting together to share meals at
their farm. My daughter has a fear of men. The first time we walked in their house, she
immediately felt at home. She sat next to Tom during the meal. She was comfortable and at
ease with him. When they were picking fruit, she exhibited uncertainty about touching the
pawpaws, Tom was gentle and considerate of her feelings, giving her time and space to get
used to the fee} of the fruit. She is looking forward to picking pawpaw fruit again this year.

Thomas Caldwell is a kind and caring man. He is not a threat or danger to anyone. We are
blessed to have him as our friend.

Sincerely,

Mary Carol Ivie
Berryville, Virginia

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Kelly Johnson, LPN, CHTS-TR
Clarke County, VA

‘May 11, 2023

The Honorable Judge Amit P. Mehta
United States District Court for the District of Columbia

RE: Character Reference for Thomas Edward Caldwell

Your Honor,

My name is Kelly Johnson and I have been a licensed practical nurse working
in pediatrics for over 25 years. I live in Clarke County VA, 17 miles from
Thomas “Tom” Caldwell. I met Tom and his wife Sharon in 2019 while
attending local community events. For the past 2+ years, we have been
attending the same church. I have enjoyed many meals with Tom and
Sharon in both home and public settings and look forward to more.

I am aware that Tom was found guilty of violating 18 U.S.C. 1512 (c)(1) and
(c)(2). Even so, I am honored to continue to call this gentle man with a big
smile my friend. When I think of Tom the first thing that comes to mind is
how much he loves his wife. He would not purposefully do anything that
would cause Sharon pain. I know Tom to be a kind man eager to share
funny stories at his own expense. Both he and his wife continue to be
generous with the limited amount of funds they have. They give to our
church and contributed to all 3-donation charity drives I oversaw this past
December (local food pantry, local nursing home and Toys for Tots).

Tom wants to live peacefully with his wife in Clarke County. I believe he
would do nothing to jeopardize this. As a nurse, I work to protect the
community. I have absolutely no concern that Tom is a threat to the public.
I appreciate your time and attention to my comments.

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Kelly Johirison, LPN, CHTS-TR

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Re Gmail Sharon Caldwell <redstart11@gmail.com>
Tom

Matthew Combs <eqiiiiyygyyyane Thu, May 11, 2023 at 9:11 PM
[0:1 eae

My name is Matt Combs. | live in Frederick County Virginia. | am the owner of Combs and Son LLC in Stephens City
Virginia where | operate a handyman service.

t have know Tom Caldwell for over 4 years now. He is an honest, kind, and caring individual. ! started out working for Tom

and Sharon on their farm helping to keep up with the mowing on their property. | quickly became close friends with Tom
and Sharon.

To this day when | go there to work, the first thing Tom wants to know is, how is my family. Tom is one of the most caring
people i have ever known. There is without a doubt no reason to believe that Tom Caldwell is a danger to the community
or the public.

Matt Combs
Stephens City Virginia

Sent from my iPhone

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Case 1:22-cr-00015-APM Document575-4 Filed 05/15/23 Page 14 of 22

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Case 1:22-cr-00015-APM Document575-4 Filed 05/15/23 Page 15 of 22

My name is Cheryl Hudson, I am recently retired. I have known Tom Caldwell for more than thirty
years and have lived near him in the Berryville, Virginia community for al! of that time.

In all of the years that I have known Tom, I have been impressed with his generosity and his caring and
compassion toward other people. I enjoy his clever and quirky sense of humor and his fun- loving
nature. It is a joy to spend time in his company and he provides some of the most peaceful and happy
social times that I experience. He is an asset to our community and is in no way a danger to anyone.

I cannot imagine my life without frequently seeing Tom socially.

Cand Udon

Cheryl Hudson
Berryville, Virginia
Case 1:22-cr-00015-APM Document 575-4 Filed 05/15/23 Page 16 of 22

I am Tim Hudson and I live in the Berryville, Virginia community with Tom Caldwell. I am currently
retired. I have known Tom for more than fifty years since 1971 when we went to school together. I have
always found Tom to be an honest and forthright man who is definitely an asset to our community. He
is in no way any danger to our community. He is always helpful and generous to a fault towards his
family and friends. The social gatherings that he hosts are calm and extremely enjoyable. I look

forward to spending many more happy years with Tom here in our hometown.

Tim Hudson
Berryville, Virginia Im 4 Lehn
Case 1:22-cr-00015-APM Document 575-4 Filed 05/15/23 Page 17 of 22

May 10, 2023
To whom it may concern,

We have known Tom for over 20 years as a great friend. We can vouch for him and say that he is an
honest, kind, generous, fun loving, goofy, and outgoing gentleman. He has been a person of morals and
integrity over the time we have known him.

We can further state that we feel he is in NO WAY a danger to the community or public.

For your information, our professions are retired/disabled (Kirby} and Inspector Services/Security
Specialist working under the FEMA HIS Contract (Holly).

We live down the road a bit from Tom and Sharon.

i).

Kirby itso & Holly DeHaven

Summit Point, WV
5/12/23, 3:25PM Case 1:22-cr-00015-APM Document 5éMa#l tonFdladd5/15/23 Page 18 of 22

fs Gmail Sharon Caldwell <redstart11@gmail.com>

Tom Caldwell

i ieeeeee Fri, May 12, 2023 at 3:22 PM

To:

Diann Tomblin
Retired

i have known Tom for three years. | met him at a mutual friends Fourth of July party.

| instantly realized we have a lot in common: age, interests, disabilities, etc. He, and my husband have similar
orthopedic problems.

We have been in touch since that time. He, and Sharon are very personable, and kind people.

Tom would never be a danger to anyone, and is an asset to our community. | look forward to spending time with them
soon.

Diann Tomblin
Berryville, Va.

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Case 1:22-cr-00015-APM Document 575-4 Filed 05/15/23 Page 20 of 22

Wednesday, May 10, 2023

To whom it may concern,

My name is Lisa Godbold and | am a Receptionist at a Physical Therapy office. | met
Tom Caldwell in the winter of 2019. We live about 20 minutes from Tom's house, right
over the WV/VA line. My husband did some restorations for Tom's fathers’ house to get
ready to sell and Tom had asked me to clean the house in the spring of 2020 once all
the repairs were complete. My husband and 1 met Tom through my husband's parents
who live right down the road from Tom. After cleaning Tom’s house, he was so thankful
for everything that my family had done for hin to help get his father's house ready to
sell. Tom wasn't able to do a lot of the work himself due to physical disabilities. When |
first met Tom during that time he was so welcoming and so considerate. He really made
me feel as if | had known him my whole life. He was so easy to talk to. | have never met
anyone who was more appreciative of all the little things. | really like how Tom treats
both my kids as his own whenever they are around each other. He is so patient with
them and is so kind. They both really like Tom. Tom is a true American patriot and
believer in God. We have been over at Tom & Sharon's house several times for dinner
and every time we get ready to eat he would ask us ail to pray with him. He is such a
gentle guy there is no way he would hurt anyone in anyway. He is completely loved by
everyone that has met him. My family and ! are blessed to have him in our lives. it is
refreshing to have such a great friend who has become more like family!

Sincerely, |

Lisa Godbold
Kearmeysville, WV
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*Fo the honorable judge Mehta,

My name is Joe Godbold, | am a operations supervisor of a large scale home owners association, in
Loudoun county, VA. | was a character witness for Mr. Caldwell back on November 14th, 2022. | hope
this letter gets to you. And that all is good with you and yours. | couldn't really speak much about Mr.
Caldwell, as an individual. My family and | have known Mr. Caldwell for about 4 years now. And in these
wonderful 4 years he too has become family, not only to my wife and I, but also my two children. He is
the goofy, fun loving, intelligent, and extremely smart “uncle” tom we've never had. His love for our
country, and all of God’s children and living things runs so strong. From the first moments we met him
and his wife, we knew that they would be great friends and a part of our lives, and family forever. They
have visited our farm for dinner and other occasions, and we have visited theirs. And Mr. Caldwell
always makes it a point te say the prayer before dinner. He truly loves life and everyone in it. Mr.
Caldwell and his lovely wife are truly family. Mr. Caidweil has the kindest, most sincere heart of anyone
i have ever met. ( truly believe he wouldn’t even harm an earthworm. He honestly would probably give
it CPR or even mouth to mouth to protect it and save it from harm. He served our country for 20 years
for a reason. And that was to protect and serve. And he has always stood true to that and his oath. Mr.
Caldwell would never cause anyone or anything any harm. Especially this wonderful country we live in
and that he served with his life for all those years. Mr. Caldwell is loved by everyone he has ever met.
Especially here in his hometown. He deserves to be here and help us all as he has always done. He is a
true legend and leader to his friends, family and community.

JOE GODBOLD
Kearneysville, WV
Hello fiy hame iS Dennis Goubold. Tara disabled rétired
building engineer, and 26 year American Red Cross
volunteer instructor. | have known Thomas Caldwell since
Oct 2015. Tom has always been a community leader and
friend to all he meets. My friend Tom has been caught up
in a terrible situation brought on by his own friendliness to
others. Even with his disabilities, he is always willing to
help a friend or neighbor.

My family and | enjoy Tom and Sharon's company and
respect the friendship we have built through the years.
Tom is the kindest, most open-minded person | know. He
is a true community leader, and in no way shape or form a
criminal in any respect.

Tom has already served time in prison and has lost almost
everything he and his wife owned and worked for their
entire lives.

| am pleading with the courts to please have mercy on my
very sick friend and brother, because all who know Tom
know that any further jail time will ultimately result in his
untimely death. And his wife Sharon will lose everything
and the person she loves most in this world.

Respectfully: Dennis Godbold Berryville, VA
